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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 LAWRENCE E. HICKS,                          §
                                             §
                 Plaintiff,                  §
                                             §
 v.                                          §    Civil Action No. 3:24-CV-0519-X-BN
                                             §
 FLAGSHIP CREDIT ASSURANCE,                  §
                                             §
                 Defendant.                  §


          ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
       RECOMMENDATION OF THE UNITED STATES MAGISTRATE
                            JUDGE

       The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case.          (Doc. No. 7).    Magistrate Judge David Horan

recommended that the Court dismiss this case without prejudice for lack of subject-

matter jurisdiction, or, in the alternative, dismiss this case for failure to state a claim.

(Doc. 7 at 2).   Plaintiff Lawrence E. Hicks filed an objection.    (Doc. 8).   The District

Court reviewed de novo those portions of the proposed findings, conclusions, and

recommendation to which objection was made, and reviewed the remaining proposed

findings, conclusions, and recommendation for plain error.         Finding none, the Court

ACCEPTS the Findings, Conclusions, and Recommendation of the United States

Magistrate Judge.       Accordingly, the Court DISMISSES WITHOUT PREJUDICE

Hicks’s complaint for lack of subject-matter jurisdiction.     (Doc. 1).




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   IT IS SO ORDERED this 13th day of August, 2024.




                                 ____________________________________
                                 BRANTLEY STARR
                                 UNITED STATES DISTRICT JUDGE




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